                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA

DAVID THOMPSON; AARON DOWNING;                      )
JIM CRAWFORD; and DISTRICT 18 of the                )
ALASKA REPUBLICAN PARTY,                            )
                                                    )
                      Plaintiffs,                   )
                                                    )
       v.                                           )
                                                    )
PAUL DAUPHINAIS, in His Official                    )
Capacity as the Executive Director of the           )
Alaska Public Offices Commission; and               )
MARK FISH, IRENE CATALONE,                          )
RON KING, KENNETH KIRK, and                         )
VANCE SANDERS, in Their Official                    )
Capacities as Members of the Alaska Public          )
Offices Commission,                                 )      Case No. 3:15-cv-00218 TMB
                                                    )
                      Defendants.                   )
                                                    )

                                    AMENDED FINAL JUDGMENT

       Final judgment is hereby entered dismissing Plaintiffs’ counts 1, 2, and 4 of the First Amended

Complaint with prejudice, and entering judgment for Plaintiffs on count 3 of the First Amended

Complaint, consistent with the Ninth Circuit’s decision issued on November 27, 2018.

       DATED this 11th day of March, 2019.


                                      /s/ Timothy M. Burgess
                                      TIMOTHY M. BURGESS
                                      U.S. DISTRICT JUDGE




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